                                   Case 17-12417-BLS                Doc          Filed 01/09/19        Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1              Timothy J. Scout
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: District       District of __________
                                                  of Delaware

 Case number            17-12417-BLS
                        ___________________________________________




               l               410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association as
                   Trustee of Chalet Series III Trust
 Name of creditor: _______________________________________                                                          7-1
                                                                                       Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                Date of payment change:
 identify the debtor’s account:                           3 ____
                                                         ____ 2 ____
                                                                  4 ____
                                                                      9                Must be at least 21 days after date       02/01/2019
                                                                                                                                 _____________
                                                                                       of this notice


                                                                                       New total payment:                              1,012.07
                                                                                                                                 $ ____________
                                                                                       Principal, interest, and escrow, if any

 Part 1:           Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     205.61
                    Current escrow payment: $ _______________                        New escrow payment:                   271.95
                                                                                                                 $ _______________


 Part 2:           Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                   New interest rate:          _______________%

                   Current principal and interest payment: $ _______________         New principal and interest payment: $ _______________


 Part 3:           Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                    Reason for change: ___________________________________________________________________________________

                    Current mortgage payment: $ _______________                      New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
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Debtor 1         Timothy    J. Scout
                 _______________________________________________________                                           17-12417-BLS
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Michael J. Egan
     _____________________________________________________________
     Signature
                                                                                                Date    01/09/2019
                                                                                                        ___________________




 Print:             Michael                  J.        Egan
                    _________________________________________________________                   Title   Bankruptcy   Asset Manager
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            SN Servicing Corporation
                    _________________________________________________________



 Address            323 5th Street
                    _________________________________________________________
                    Number                 Street

                    Eureka                           CA      95501
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      800-603-0836
                    ________________________                                                           bknotices@snsc.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 27180)
     LAW OFFICES OF MICHELLE GHIDOTTI
 2   1920 Old Tustin Ave.
 3   Santa Ana, CA 92705
     Ph: (949) 427-2010
 4   Fax: (949) 427-2732
     mghidotti@ghidottilaw.com
 5
 6   Attorney for Creditor
     U.S. Bank Trust National Association as Trustee of Chalet Series III Trust
 7
 8                           UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF DELAWARE – DELAWARE DIVISION
 9
10   In Re:                                               )   CASE NO.: 17-12417
11                                                        )
     Timothy J. Scout,                                    )   CHAPTER 13
12                                                        )
              Debtors.                                    )   CERTIFICATE OF SERVICE
13                                                        )
14                                                        )
                                                          )
15                                                        )
                                                          )
16                                                        )
17                                                        )
                                                          )
18
19                                    CERTIFICATE OF SERVICE
20
21            I am employed in the County of Orange, State of California. I am over the age of

22   eighteen and not a party to the within action. My business address is: 1920 Old Tustin
23
     Avenue, Santa Ana, CA 92705.
24
              I am readily familiar with the business’s practice for collection and processing of
25
     correspondence for mailing with the United States Postal Service; such correspondence would
26
27   be deposited with the United States Postal Service the same day of deposit in the ordinary

28   course of business.

     On January 9, 2019 I served the following documents described as:

                                                      1
                                       CERTIFICATE OF SERVICE
                    Case 17-12417-BLS        Doc     Filed 01/09/19     Page 7 of 7



 1                  NOTICE OF MORTGAGE PAYMENT CHANGE
 2   on the interested parties in this action by placing a true and correct copy thereof in a sealed
 3
     envelope addressed as follows:
 4
     (Via United States Mail)
 5
     Debtor                                              Debtor’s Counsel
 6   Timothy J. Scout                                    Doreen H. Becker
     309 Birmingham Ave.                                 1217 King Street
 7   Wilmington, DE 19804                                Wilmington, DE 19801
 8
     U.S. Trustee                                        Chapter 13 Trustee
 9   J. Caleb Boggs Federal Building                     Michael B. Joseph
     844 King Street, Suite 2207,Lockbox 35              824 Market Street
10   Wilmington, DE 19801                                P.O. Box 1351
11                                                       Wilmington, DE 19899-1351

12
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
13   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
14
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
15
     Eastern District of California
16
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
17   America that the foregoing is true and correct.
18
            Executed on January 9, 2019 at Santa Ana, California
19
     /s / Lauren Simonton
20   Lauren Simonton
21
22
23
24
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
